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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
  John Doe.

                  Plaintiff,                               Case No. 2:21-cv-20706
          v.                                               Declaration of Daniel S. Szalkiewicz, Esq.

  Baila Sebrow

                  Defendant

         DANIEL S. SZALKIEWICZ declares as follows:

         1.      I am a partner at the law firm of Daniel Szalkiewicz & Associates, P.C., attorneys

 for the defendant in the above captioned action. I submit this declaration in support of

 Plaintiff’s motion to dismiss.

         2.      On February 22, 2022, Plaintiff deposited with me his iPhone 12. Using forensic

 tools, I took a true and accurate backup of the phone. I then extracted the text messages annexed

 hereto as Exhibit 1. The messages are between Plaintiff and the Defendant in this matter. The

 redactions remove the third party’s names, Plaintiff’s phone information, and Plaintiff’s name.

 Defendant in is possession of the complete, unredacted text messages.

         3.      In total, I extracted 197 pages of text messages exchanged between Plaintiff and

 Defendant from July 4, 2018 until October 10, 2018. The messages included as Exhibit 1 reflect

 only a portion of the totality of extracted messages but are reflective of the general tenor of each

 and every exchange.

         4.      Annexed hereto as Exhibit 2 is a copy of an email between Defendant and

 Plaintiff.

         5.      Annexed hereto as Exhibit 3 is a true and accurate copy of the domestic violence

 civil complaint Plaintiff filed against Plaintiff on July 14, 2021, together with the Court order. I

 redacted Plaintiff’s name and employer.


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        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge, information, and belief.

 Dated: New York, New York
        October 21, 2022
                                                      /s/Daniel Szalkiewicz, Esq.
                                                      Daniel S. Szalkiewicz




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